Case 1:18-cv-01575-TSE-JFA Document18 Filed 04/17/19 Page 1 of 2 PagelD# 84

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

HARTFORD CAS. INS. CO.,

Vv.
Case No. 1:18-ev-1575
DONALD BERLIN, et al.

ORDER

The defendants in this declaratory judgment action, Donald Berlin, Investigative
Consultants, Inc. and Investigative Consultants, Inc. of Washington DC, are also
defendants in a libel suit in federal court in the District of Columbia (“D.C. case”). See
Chandler v. Berlin, Civil No. 18-cv-2136(APM) (D.D.C.). The plaintiff in this case,
Hartford Casualty Insurance Company, seeks a judicial declaration that it owes
defendants no duty to defend or indemnify in the D.C. case.

Instead of filing a responsive pleading to plaintiff's complaint for declaratory
judgment, defendants filed a one-page “motion to dismiss” which states, “Defendants. . .
hereby withdraw the claims that form the basis of plaintiff's declaratory judgment action.
Accordingly, since there is no longer a case in controversy, defendants respectfully
request that this Honorable court dismiss this case.” (Doc. 16.) This is a curious
pleading because defendants have no claims to withdraw in either this case or the D.C.
case. They are the defendants in both actions and are in no position to dismiss this case

without plaintiffs consent.
Case 1:18-cv-01575-TSE-JFA Document18 Filed 04/17/19 Page 2 of 2 PagelD# 85

Accordingly,

The parties are ORDERED to appear for a status conference on April 19, 2019 at

10:00 a.m. to discuss this matter.

Alternatively, the parties may file a joint stipulation of dismissal if both parties

agree to dismissal of this action.

The Clerk is further directed to provide a copy of this Order to all counsel of

record. f

Alexandria, Virginia T. S. Ellis,
April 17, 2019 United States District Judge

